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                               UNITED STATES DISTRICT COURT
                                                                                     fEB = 120\8
                               EASTERN DISTRICT OF MISSOURI                         U s DISTRIC"f COURT
                                                                                  EASTERN DISTRICT OF MO
                                     EASTERN DIVISION                                    ST.LOUIS

UNITED STATES OF AMERICA,                       )
                                                )
                  Plaintiff,                    ) No.
                                                ).,----~~~~~~~~~~~~
v.                                              )

JONATHAN JAMAR DICKERSON,
                                                ~·    4:18CR98 RLW/PLC
     a/k/a "Los,"                               )
                                                )
                  Defendant.                    )

                                        INDICTMENT

                                           COUNT I

The Grand Jury charges that:

        On or about January 27, 2017, in St. Louis County, within the Eastern District of Missouri,

the defendants,

                               JONATHAN JAMAR DICKERSON,

did knowingly and intentionally distribute fentanyl in violation of Title 21, United States Code,

Section 841(a), and;

       that the death ofD.M., a person whose identity is known to the Grand Jury, resulted from




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the use of such fentanyl distributed by defendant, making the offense punishable ilnder Title 21,

United States Code, Section 841 (b)(I )(C).

                                                    A TRUE BILL.



                                                    FOREPERSON



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